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  8                       UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
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 11     SECURITIES AND EXCHANGE                         Case No. 15-cv-00226-BAS-DHB
        COMMISSION,
 12                                                     ORDER GRANTING THIRD
                                     Plaintiff,         INTERIM APPLICATION FOR
 13                                                     PAYMENT OF FEES AND
              v.                                        REIMBURSEMENT OF
 14                                                     EXPENSES OF RECEIVER AND
        TOTAL WEALTH                                    RECEIVER’S COUNSEL
 15     MANAGEMENT, INC. and JACOB
        KEITH COOPER,                                   [ECF No. 146]
 16                               Defendants.
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 18
 19         Before the Court is Receiver Thomas A. Seaman’s Third Interim Application
 20   for Payment of Fees and Receiver’s Counsel Allen Matkins Leck Gamble Mallory &
 21   Natsis LLP’s (“Allen Matkins”) Third Interim Application for Payment of Fees and
 22   Reimbursement of Expenses. (ECF No. 146.) The applications cover the period from
 23   January 1, 2016 through December 31, 2016 (the “Application Period”). The
 24   Receiver reports $66,336.00 in fees incurred during the Application Period, and
 25   requests an interim payment of $59,702.40. Allen Matkins reports $375,326.60 in
 26   fees incurred during the Application Period, and requests an interim payment of
 27   $300,261.28. Allen Matkins also requests reimbursement in full of $6,215.35 in costs.
 28   The Securities and Exchange Commission (“SEC” or “Commission”) has reviewed
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  1   the applications and supports the requests for interim payment of fees and
  2   reimbursement of costs. (ECF No. 147.)
  3                                    LEGAL STANDARD
  4          “A receiver appointed by a court who reasonably and diligently discharges his
  5   duties is entitled to be fairly compensated for services rendered and expenses
  6   incurred.” SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y. 2008). This entitlement
  7   to reasonable compensation extends to the professionals employed by the receiver.
  8   See Drilling & Expl. Corp. v. Webster, 69 F.2d 416, 418 (9th Cir. 1934). The court
  9   appointing the receiver has “full power” to fix the compensation of the receiver and
 10   the receiver’s counsel. Id. “As a general rule, the expenses and fees of a receivership
 11   are a charge upon the property administered.” Gaskill v. Gordon, 27 F.3d 248, 251
 12   (7th Cir. 1994).
 13          In evaluating the reasonableness of the fees and costs requested, the court
 14   considers, among other things, the quality of the work performed, the benefits
 15   obtained on behalf of the receivership estate, the complexity of the problems faced,
 16   and the burden of the fee request on the receivership estate. See SEC v. Fifth Ave.
 17   Coach Lines, Inc., 364 F.Supp. 1220, 1222 (S.D.N.Y. 1973). The receiver bears the
 18   burden of demonstrating to the court any entitlement to the payment of fees and costs
 19   in the amount requested. See 65 Am. Jur. 2d, Receivers § 228 (2d ed. Feb. 2016
 20   update). The SEC’s support for, or opposition to, a fee application “will be given
 21   great weight.” Fifth Ave. Coach Lines, 364 F. Supp. at 1222.
 22                                         DISCUSSION
 23   A.     Receiver’s Fee Request
 24          The Receiver requests $66,336.00 in fees for work performed during the
 25   Application Period.1 According to the billing records submitted with the application,
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 27     On June 7, 2016, the Court substituted Thomas A. Seaman as Receiver in place of Kristen A.
      Janulewicz, the Original Receiver. (ECF No. 102.) As such, the Application Period covers work
 28   performed by both Janulewicz as Original Receiver and Seaman as Successor Receiver. For the
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  1   the Receiver and his staff expended 350.5 hours on behalf of the receivership entities
  2   and estate, performing such tasks as accounting, investor relations, debt collection,
  3   subpoenaing and reviewing documents, and bringing a suit on behalf of the
  4   Receivership Entities against Private Placement Capital Notes II, LLC (“PPCN”) and
  5   its principal. (ECF No. 146-1, Exh. A.) The average hourly rate for work performed
  6   during the Application Period ranged from $60 to $270, with a weighted average
  7   hourly rate of $189 per hour. Id. The Successor Receiver, whose normal billing rate
  8   is $400 per hour, agreed to a reduced hourly rate of $270 to ensure the turnover of
  9   receivers did not result in increased financial burden to the receivership estate. The
 10   Receiver represents that he saved the receivership estate approximately $18,000.00
 11   through discounted billing rates and write-offs for travel time. (ECF No. 146-1, 5:19–
 12   23.)
 13          The Court finds the Receiver’s request for $66,336.00 in fees to be fair and
 14   reasonable. As with prior applications, the Receiver has provided thorough, well-
 15   documented billing records, allowing the Court to evaluate the tasks performed, hours
 16   expended, hourly rates, and total fees incurred for each task category. (ECF No. 146,
 17   Exhs. A, B.) The Receiver’s hourly rate of $270, and the weighted average rate of
 18   $189 per hour, are eminently reasonable. The Receiver recovered $387,435.00 in
 19   assets during the Application Period, making the Receiver’s fees a reasonable 17.1
 20   percent of the gross receipts recovered. Finally, the SEC has reviewed the Receiver’s
 21   fee application and supports the request for an interim payment, a position that this
 22   Court gives significant weight. Thus, considering the time records presented, the
 23   quality of the work performed, the benefits obtained on behalf of the receivership
 24   estate, and the SEC’s perspective on the matter, among other factors, the Court finds
 25   the Receiver’s fee request to be fair and reasonable. Accordingly, the Court approves
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      purposes of this Order, the Court’s reference to “Receiver” includes work performed by both
 28   Janulewicz and Seaman.
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  1   the Receiver’s fees in the amount of $66,336.00, and authorizes the Receiver to pay
  2   90% of the approved fees (that is, $59,702.40) from the assets of the Receivership
  3   Entities, on an interim basis.
  4   B.    Allen Matkins’ Request for Fees and Reimbursement of Costs
  5         According to billing records submitted by Allen Matkins, the firm spent a total
  6   of 702.3 hours working on behalf of the Receiver, for fees totaling $375,326.60. (ECF
  7   Nos. 146-2, 146-4.) Hourly rates ranged from $265 to $795. The firm also incurred
  8   $6,215.35 in costs. Id.
  9         Allen Matkins performed a wide range of tasks to assist the Receiver during
 10   the Application Period, including negotiating with creditors over proceeds claimed
 11   by both the creditors and the Receiver; helping the Receiver determine whether the
 12   Receivership Entities have a claim against Defendant Cooper’s residence in St.
 13   George, Utah; drafting the Receiver’s responses to motions filed by Defendant
 14   Cooper (in particular the Receiver’s Opposition to Cooper’s Motion to Sell Personal
 15   Assets and to Escrow Proceeds); assisting the Receiver in his efforts to oppose a
 16   motion to compel arbitration in the PPCN action; and assisting the Receiver in his
 17   efforts to initiate the claims process.
 18         The Court finds that Allen Matkins’ request for fees and costs is fair and
 19   reasonable. Allen Matkins is a well-known California firm with extensive experience
 20   in federal receiverships. The firm’s billing rates are comparable to the usual fees for
 21   similarly complex services in the community. The firm has provided detailed billing
 22   records clearly outlining the tasks performed, the hourly rate, the time expended on
 23   each task, and the personnel assigned to each task. (ECF No. 146, Attach. 4.) The
 24   records indicate that the firm staffed the various tasks appropriately and efficiently
 25   based on the expertise required. Allen Matkins also states that it discounted its
 26   ordinary billing rates by 10% for attorneys staffed on this matter. (ECF No. 146-2,
 27   4:17–19.) Finally, as in the case of the Receiver’s fee application, the Court gives
 28   significant weight to the SEC’s support for Allen Matkins’ request for fees and
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  1   reimbursement of expenses, given the Commission’s expertise and familiarity with
  2   comparable proceedings. Accordingly, the Court approves Allen Matkins’ fees in the
  3   amount of $375,326.60, and authorizes and directs the Receiver to pay Allen Matkins
  4   80% of the approved fees (that is, $300,361.28) from the assets of the Receivership
  5   Entities, on an interim basis. In addition, the Court approves Allen Matkins’ costs
  6   totaling $6,215.35, and authorizes and directs the Receiver to reimburse Allen
  7   Matkins for such costs in full.
  8                              CONCLUSION AND ORDER
  9          For the foregoing reasons, the Court GRANTS the Receiver’s third interim
 10   application for fees and Allen Matkins’ third interim application for fees and costs
 11   for the period January 1, 2016 through December 31, 2016 as follows:
 12         1. The Court APPROVES the Receiver’s fees in the amount of $66,336.00;
 13         2. The Court AUTHORIZES and DIRECTS the Receiver to pay 90% of the
 14             approved fees (that is, $59,702.40) from the assets of the Receivership
 15             Entities, on an interim basis;
 16         3. The Court APPROVES Allen Matkins’ fees in the amount of $375,326.60;
 17         4. The Court AUTHORIZES and DIRECTS the Receiver to pay Allen
 18             Matkins 80% of the approved fees (that is, $300,261.28) from the assets of
 19             the Receivership Entities, on an interim basis;
 20         5. The Court APPROVES Allen Matkins’ request for reimbursement of costs
 21             in the amount of $6,215.35, and AUTHORIZES and DIRECTS the
 22             Receiver to reimburse Allen Matkins for such costs in full.
 23         IT IS SO ORDERED.
 24   DATED: May 24, 2017
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